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   8                            UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
   9
                                     WESTERN DIVISION
  10
       SANDRA L. SUTTLE,                               )
  11
                 Plaintiff,                            ) Case No.: CV 20-10722-DMG (PDx)
  12                                                   )
  13          vs.                                      ) JUDGMENT [18]
                                                       )
  14                                                   )
       KILOLO KIJAKAZI,
  15   Acting Commissioner of Social                   )
       Security,1                                      )
  16
                  Defendant.                           )
  17                                                   )
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                 Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021.
  27   Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be
       substituted, therefore, for Andrew Saul as the defendant in this suit. No further action need be
  28   taken to continue this suit by reason of the last sentence of section 205(g) of the Social Security
       Act, 42 U.S.C. § 405(g).



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   1         The Court having approved the parties’ stipulation to remand this case
   2   pursuant to Sentence 4 of 42 U.S.C. § 405(g) for further proceedings consistent
   3   with that stipulation and for entry of judgment for Plaintiff, judgment is hereby
   4   entered in favor of Plaintiff and against Defendant.
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   6
       DATED: September 29, 2021
   7                                          DOLLY M. GEE
                                              UNITED STATES DISTRICT JUDGE
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